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                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:

                              DEFENDANTS’ STATUS REPORT

       Defendants, the United States et al., respectfully submit this status report to notify the

Court of a decision by the Government to accept the alternative proposal set forth in the Court’s

preliminary injunction of July 6, 2021 (the “preliminary injunction” or “Order”). Previously, we

advised the Court that, while we appreciated the proposal and the sensitivity of the burdens

imposed by suspension of liquidation on such a mass scale, we did not intend at that time to

utilize the stipulation proposal. After seven weeks of concerted efforts to implement a system to

suspend the unprecedented volume of entries, however, it has become apparent that it is not

possible. The resources required to adapt existing systems, designed for very different purposes,

to suspend liquidation on this scale do not exist, and the consequences of attempting to comply

with the preliminary injunction through suspension of liquidation would be catastrophic for U.S.

Customs and Border Protection’s (CBP) many other critical functions.

       Accordingly we have concluded that the only possible option for compliance with the

preliminary injunction is to adopt the Court’s proposal. As explained below, CBP will still

establish the Repository, and will use the same procedures as previously described for any

plaintiffs to follow for their entries. Rather than attempting to suspend liquidation, however, we

will “stipulate to refund any duties found to have been illegally collected,” in response to a
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request from a plaintiff to suspend the liquidation of their Subject Entries.1 Order at 2-3 (the

“Court’s Alternate Proposal”).

       We have conferred with plaintiffs and understand that they will be filing a response to

this status report tomorrow.

       Below, we first explain our decision to accept the Court’s Alternate Proposal, namely,

that it is necessary to comply with the preliminary injunction. We then provide a detailed

explanation outlining how we propose to implement the Court’s Alternate Proposal. Finally, the

attached Appendix sets forth updated draft Repository Instructions to assist plaintiffs in

submitting lists of entries to CBP.

                                        INTRODUCTION

       After seven weeks and countless hours of work, it is clear that accepting the Court’s

Alternate Proposal is the only feasible way for the Government to comply with the Court’s

Order. As we previously explained to the Court, suspending the liquidation of potentially

millions of Subject Entries would have been a monumental task for CBP, requiring significant

resources from an agency with limited resources and myriad competing priorities. Many

individuals within CBP have strived to quickly develop a workable process for suspending the

liquidation of millions of entries. As we relayed to the Court in status conferences and numerous

Court submissions, those individuals considered every possible option, including using existing

functions in CBP’s Automated Commercial Environment (ACE), as well as creating new

automated processes.

       Despite CBP’s efforts, we have determined that suspending the liquidation of millions of

entries is not possible, because it would impose too large a burden on the agency and disrupt too


1
 This term has the same definition provided in the Court’s preliminary injunction order of July
6, 2021.



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many of its core functions. Indeed, even if the Court were to accept all of our proposed

modifications to the Order, the suspension of liquidation of Subject Entries would likely result in

repeated violations of the preliminary injunction, and the effort to seek to comply with the Order

would come at the expense of CBP’s broader mission.

       Because it is not possible for CBP to comply with the Court’s order by suspending the

liquidation of Subject Entries, we have no option but to accept the Court’s Alternate Proposal.

Below, we provide a detailed explanation of how we intend to implement this option. The

process we propose is, in many respects, similar to the process we previously proposed for

effectuating the suspension of the liquidation of Subject Entries. Indeed, as the Court’s Order

outlined, both processes require plaintiffs to submit lists of entries to the Repository, formatted in

Excel sheets according to specific instructions from CBP.

       However, the process outlined below will eliminate the need for CBP to run mass updates

in ACE for all of the entries placed in the Repository, which would have been required to

effectuate the suspension of liquidation for potentially millions of Subject Entries. As explained

in previous Court submissions and status conferences, this process would have been extremely

resource-intensive for CBP, because it would have entailed manually addressing any flags and

errors that arose in running the thousands of mass updates in ACE for the thousands of plaintiffs

in the Section 301 cases. This, in turn, would have required individuals at the appropriate CBP

Center of Excellence and Expertise (Center) to engage in back-and-forth communications with

thousands of plaintiffs regarding any issues affecting the entries for which they had requested

suspension of liquidation. In addition, by accepting the stipulation proposal, CBP will not be

required to liquidate all Subject Entries within six months following the conclusion of litigation,

as required by 19 U.S.C. § 1504(d) (requiring CBP to liquidate entries within 6 months after “a




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suspension required by statute or court order is removed”), thereby avoiding the risk that entries

shall be deemed liquidated.

       Plaintiffs’ burden will also be lessened by the Government adopting the Court’s Alternate

Proposal. For example, plaintiffs who would have otherwise submitted requests to suspend the

liquidation of their entries will not have to track whether suspension was in fact effectuated by

CBP. Likewise, plaintiffs will not have to address the consequence of CBP liquidating any

entries that were included in a request to suspend liquidation.

       Finally, we still maintain that reliquidation is not generally available as a remedy in

actions brought pursuant to 28 U.S.C. § 1581(i), except when it is necessary to enforce and

protect the integrity of the Court’s own judgments or orders. Consistent with this view, we are

accepting the Court’s Alternate Proposal because it is the only way the Government can comply

with the preliminary injunction. We reserve our right to appeal the issue of whether reliquidation

is available as a form of relief in section 1581(i) actions, including in the Section 301 cases, with

respect to any entries that are not subject to the Order.

   OVERVIEW OF IMPLEMENTATION OF COURT’S STIPULATION PROPOSAL

       As required by the Court’s preliminary injunction, CBP has established a Repository

within ACE’s Document Imaging System (DIS). Our previously filed draft Repository

Instructions guided plaintiffs on how to submit requests for the suspension of liquidation of their

Subject Entries into this Repository. See Defendants’ Status Report, ECF No. 354. Although we

no longer intend to suspend the liquidation of any Subject Entries, we still anticipate plaintiffs

submitting lists of their entries into the Repository, as required by the Court’s preliminary

injunction order. Thus, we provide updated draft Repository Instructions in the attached

Appendix that are similar in many respects to our prior draft, especially in that they require




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plaintiffs to submit their lists of Subject Entries in Excel spreadsheets, formatted in accordance

with specific requirements.

        In addition, consistent with the prior draft of our Repository Instructions, we propose

requiring plaintiffs to transmit their Excel spreadsheets to DIS in one of two ways, either

(1) through a system-to-system transmission, or (2) via email. In either instance, the submission

must be accompanied by an email to the appropriate Center. See Joint Status Report of August 9,

2021 (Joint Status Report), ECF No. 365 at 11-13 (discussing requirement for simultaneous

transmission to DIS and email to a plaintiff’s designated Center) and 10 (explaining how

plaintiffs can identify their Center if it is unknown).

        With respect to transmitting to DIS via email, the email would have similar syntax

requirements as those set forth in our previous draft Repository Instructions. See Joint Status

Report at 11-12. In addition, the Excel spreadsheet that plaintiffs are required to submit must

still contain the data elements set forth in Section III.f of the updated draft Repository

Instructions, but plaintiffs are no longer required to limit their spreadsheets to 5,000 rows.

        As far as creating the required Excel spreadsheets, as explained in the Joint Status Report,

functionality exists for plaintiffs (or their counsel or brokers) to use ACE reports to pull the

necessary data for their entries. Id. at 5-6. In addition, CBP has made a new ACE report

available to plaintiffs (or their counsel or brokers). This report is similar to the report described

in the Joint Status Report, in that it pulls information for all of a plaintiff’s Subject Entries for

which the liquidation status is either “unliquidated” or “suspended.” Id. at 6-7.

        In addition, instead of requiring that submissions be made “a minimum of 30 days in

advance of the scheduled liquidation date for the Subject Entries, if known,” as we previously

proposed, our updated draft Repository Instructions only require that submissions be made “in




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advance” of an entry’s liquidation. We are also proposing that plaintiffs submit lists of entries

on a quarterly basis.

        Once CBP receives an Excel spreadsheet of entries from a plaintiff, in lieu of suspending

the liquidation of those entries, it will instead stipulate to refund any duties if and to the extent

such duties are found to have been illegally collected at the conclusion of this litigation,

including all appeals. We request that the Court modify its preliminary injunction order to allow

30 days (instead of 14 days, as currently ordered) from the date CBP receives a submission to

notify the plaintiff of the stipulation.

        CBP will notify the plaintiff of the stipulation by responding to the email sent to the

Center in conjunction with that plaintiff’s submission of its Excel spreadsheet of entries to the

Repository. CBP’s response will set forth the terms of the stipulation, which will include criteria

for determining whether the stipulation applies to any specific entry contained in a plaintiff’s

Excel spreadsheet of entries, as explained below. We have drafted proposed stipulation

language, which we set forth in Section V of the updated draft Repository Instructions.

        CBP will be unable to verify upon submission that all of the entries included in a

plaintiff’s Excel spreadsheet of entries constitute unliquidated Subject Entries, given the

thousands of plaintiffs that may make submissions, and the possible millions of entries covered

by those submissions. However, the terms of the stipulation that we propose clarify that a

stipulation only covers “Subject Entries” that were unliquidated at the time of a plaintiff’s

submission into the Repository, and for which Section 301 duties are later found to have been

illegally collected. In addition, the updated instructions require each submission to be designated

with a sequential “batch number,” to distinguish it from other “batches,” or submissions, made

by the same plaintiff. A stipulation will therefore cover a specific “batch” of entries meeting the




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above criteria — i.e., “Subject Entries” that were unliquidated at the time of a plaintiff’s

submission, and later found to have been illegally collected.

       Thus, the stipulation that we propose is conditional upon a final determination that the

Section 301 duties in the Subject Entries have been “illegally collected.” Order at 3. As a result,

any entries submitted by plaintiffs into the Repository that are not unliquidated “Subject

Entries,” or for which Section 301 duties are not found to have been “illegally collected,” will

not be covered by the terms of a stipulation.

                                          CONCLUSION

       In sum, we appreciate the many hours spent by the Court, counsel, and CBP in trying to

implement a process for the suspension of liquidation of Subject Entries. However, after

exhaustive efforts to establish a system to suspend liquidation on this unprecedented scale, we

have determined that the Court’s Alternate Proposal is the only possible way for the Government

to comply with the preliminary injunction order. Consistent with that proposal, we will therefore

agree to stipulate to reliquidation of any Subject Entries that have not yet liquidated.



 Respectfully submitted,
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                                                      Acting Assistant Attorney General

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                                        APPENDIX

                UPDATED DRAFT REPOSITORY INSTRUCTIONS

I.      Overview

        The following detailed instructions apply to importers submitting to the Repository
        their list(s) of entries for which defendants will stipulate (i.e., agree) to refund any
        duties if and to the extent such duties are found to have been illegally collected at the
        conclusion of this litigation, including all appeals, pursuant to the preliminary
        injunction order issued by the Court of International Trade (“CIT”) on July 6, 2021 in
        Master Case Number 21-00052-3JP (“Subject Entries”).

        We recommend that each importer provide its list of Subject Entries on a quarterly
        basis. Importers are responsible for ensuring that all entries submitted through the
        repository are subject to this court order. Importers must submit their list(s) of entries
        via both (1) the Automated Commercial Environment (ACE) Document Imaging
        System (DIS) AND (2) email to the appropriate Center of Excellence and Expertise’s
        (Center’s) CIT mailbox.

II.     Transmission Requirements

        a. Required Transmission #1 – Submission to DIS
           Note: This transmission must be made in advance of the liquidation date for
           Subject Entries.

           Importers have two options for submitting the 301 repository Excel workbooks
           via DIS: (1) via XML - electronically through secure web services, file transfer
           protocol, or messaging queue, or (2) via email to docs@cbp.dhs.gov. For general
           guidance on how to use DIS, importers should review the ACE DIS
           Implementation Guide.

                i. DIS Option 1: XML – Importers submit 301 repository spreadsheets via
                   DIS through secure web services, file transfer protocol, or messaging
                   queue. When using XML, importers will use the unique DIS Document
                   Label Code, “301_Litigation_Spreadsheet” to identify the 301-repository
                   spreadsheet. If using the DIS XML option, importers must also submit a
                   separate email to the appropriate Center’s CIT mailbox (see email
                   instructions in section b. below).

               ii. DIS Option 2: Email – Importers submit 301 repository spreadsheets via
                   DIS email to docs@cbp.dhs.gov. Importers do not need ACE access to
                   submit via DIS email. When using DIS email, importers will use the
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           unique DIS DocCode “CBP160” to identify the 301-repository
           spreadsheet. Importers submitting via DIS email will carbon copy (CC)
           the appropriate Center’s CIT mailbox (see email instructions in section b.
           below).
           Note: The following formatting instructions for the DIS Email option
           must be all uppercase and followed exactly. The sender must keep the
           confirmation email for verification. If no confirmation email is received
           within the hour, please resubmit.
              • The subject line of the email must read precisely as follows:
                   “CAT=CIT; CIT_BATCH_NBR=21-00052-001; ACTION=ADD”
                      • CAT must always equal CIT for the Court of International
                          Trade 301 litigation category.
                      • CIT_BATCH_NBR must reflect the master court number
                          (21-00052 and the batch number as identified by the
                          importer on a cumulative basis, beginning with 001, 002
                          etc.).
                      • The body of the email must include the text below.
                          Note: Underlined text represents examples; the precise text
                          is to be filled in by the importer and should not be
                          underlined when transmitting the message. Italicized text
                          represents instructions and should not be included in the
                          transmission.

                  START_DATA
           AGENCY_CD=CBP
           TRANSMITTER_FILER_CD=123
                  Conditional (Required for Filers with valid filer codes)
           TRANSMITTER_NAME=Smith Brokerage Firm
                         Mandatory (Name of company)
           CENTER_TEAM=AAA
                  Conditional (Required when responding to Centers)
                  Enter Entry Summary Control Team Number
           Importer of Record (IOR)_NBR=54-123456789
                  Required
           POC_INFO=John Smith, 202-123-4567
                  Required (Name and Phone Number)
           COMMENT=NBR 20-00177, 9/10/2020
                  Required (Enter importer-specific case number, and court filing
                         date.)
                  Further comments may also be included.
           RETURN_EMAIL_ADDRESS=JOHN.SMITH@YAHOO.COM
                  Conditional (Enter if different than sender’s email address)




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                      END_DATA

          b. Required Transmission #2 – Email to appropriate Center’s CIT mailbox
       Note: This transmission must be made in advance of the liquidation of the Subject Entries.

       Importers transmitting data via DIS Option 1: XML, must send a separate email to the
              appropriate Center’s CIT mailbox with an attached Excel workbook containing
              one or more spreadsheets of Subject Entries (see spreadsheet requirements below).
              Importers transmitting data via DIS Option 2: Email, must CC the appropriate
              Center’s CIT mailbox when submitting the email to DIS.

       Center CIT mailboxes are as follows:

                CEE-CIT-Agriculture@cbp.dhs.gov
                CEE-CIT-Apparel@cbp.dhs.gov
                CEE-CIT-Automotive@cbp.dhs.gov
                CEE-CIT-Basemetals@cbp.dhs.gov
                CEE-CIT-Consumer@cbp.dhs.gov
                CEE-CIT-Electronics@cbp.dhs.gov
                CEE-CIT-Industrialmaterials@cbp.dhs.gov
                CEE-CIT-Machinery@cbp.dhs.gov
                CEE-CIT-Petroleum@cbp.dhs.gov
                CEE-CIT-Pharmaceuticals@cbp.dhs.gov
                CEE-CIT-SanJuan@cbp.dhs.gov

III.      Spreadsheet Requirements

       Both required transmissions, (1) DIS and (2) email to the Center’s CIT mailbox, must
       include an attached Excel workbook containing one or more spreadsheets with the
       following information for covered entries.
           c. Each Excel workbook must be limited to entries for one importer.
           d. The file size is limited to 10MB. Multiple worksheets for the same importer can
              be included in a single Excel workbook.
           e. The file name for the 301 repository Excel workbook will be comprised of the
              following information including dash, underscores and no additional spaces:
              “CBP160-301_litigation_54-123456789_Batch_001.xlsx”.
                   i. CBP160-301_litigation_: These characters will remain constant for all 301
                      repository spreadsheet file names from all importers.
                  ii. 54-123456789: The IOR number is importer specific and should be
                      limited to one IOR number in the file name.
                 iii. Batch_001: This batch number is sequential by importer on a cumulative
                      basis, beginning with 001.




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         f. The required data elements are provided in the attached Excel spreadsheet
            template and detailed below:
                 i. Column A: Importer Number
                       • Enter the IOR number including appropriate dash (-) in either XX-
                          XXXXXXXXX, XXXXXX-XXXXX or XXX-XX-XXXX format.
                          IOR numbers should include suffixes, if relevant.
                ii. Column B: Center ID Name
                       • Enter the Center name or, if applicable, San Juan, Puerto Rico.
               iii. Column C: Control Team Number
                       • Enter the entry summary control team number.
               iv. Column D: Entry Summary Number
                       • Enter the relevant 11-digit entry summary number without dashes.
                v. Column E: Entry Date
                       • Enter the date in MM/DD/YYYY format.

IV.      Points of Contact

         Please contact traderemedy@cbp.dhs.gov for any questions regarding the repository
         submission process.

V.       Proposed Stipulation Language

       We acknowledge your request made in accordance with the court’s Order
       dated July 6, 2021 in Court No. 21-00052, In Re Section 301 Cases (the
       “Order), that liquidation of the entries identified on the spreadsheet included
       with your submission to the Repository be suspended.

       Pursuant to the seventh paragraph of the Order, Defendants opt to stipulate to
       refund to the importer any Section 301 duties that are found to have been
       illegally collected under List 3 and/or List 4A. For the purposes of this
       Stipulation, “Subject Entries” shall have the meaning set forth in the court’s
       July 6, 2021 order. This Stipulation applies to Subject Entries included on the
       spreadsheet submitted into the Repository, provided that: (i) the entries were
       not liquidated as of the date the request was submitted to CBP, (ii) the importer
       identified by the Importer of Record number associated with the entries in the
       spreadsheet is a proper party entitled to a refund, and (iii) the Section 301
       duties are not otherwise refunded prior to such final decision.




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